
312 S.E.2d 651 (1984)
310 N.C. 308
Kenneth DOLBOW, Employee, Plaintiff,
v.
HOLLAND INDUSTRIAL, INC., Employer, and
Commercial Union Insurance Companies, Carrier, Defendants.
No. 592P83.
Supreme Court of North Carolina.
February 2, 1984.
Smith, Moore, Smith, Schell &amp; Hunter, Greensboro, for defendants.
Kenneth Dolbow, plaintiff, pro se.
Case below: 64 N.C.App. 695, 308 S.E.2d 335.
Defendants' petition for discretionary review under G.S. 7A-31 Denied.
